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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.
                                                        Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC

                 Defendant.


           GOVERNMENT’S MOTION FOR LEAVE TO FILE UNDER SEAL

       The United States of America respectfully moves for leave to file under seal its

opposition to defendant Concord Management and Consulting LLC’s motion to compel (Dkt.

No. 78). The government’s opposition discusses a “matter occurring before the grand jury,” Fed.

R. Crim. P. 6(e)(2)(B). Therefore, filing the opposition under seal is appropriate under Federal

Rule of Criminal Procedure 6(e)(2)(B)(vi) and Rule 6(e)(6).



                              Respectfully submitted,

ROBERT S. MUELLER, III                                        JESSIE K. LIU
Special Counsel                                               United States Attorney

By: /s/                                                       By: /s/
Michael R. Dreeben                                            Jonathan Kravis
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          Case 1:18-cr-00032-DLF Document 83 Filed 01/03/19 Page 2 of 2



JOHN C. DEMERS
Assistant Attorney General for National Security

By: /s/
Heather N. Alpino
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                             CERTIFICATE OF SERVICE

        I hereby certify that on January 3, 2019 I caused a copy of the foregoing motion

for leave to file under seal to be transmitted to Katherine Seikaly and Eric Dubelier,

counsel of record for Concord Management and Consulting LLC, via email and first class

mail.



                                                     By: /s/
                                                     Jonathan Kravis
                                                     Assistant United States Attorney
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

             v.
                                                        Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC

                  Defendant.


                                     PROPOSED ORDER

        Upon consideration of the motion of the United States of America for leave to file under

seal, it is hereby

        ORDERED that the motion is GRANTED.

        Accordingly, the government’s opposition to defendant Concord Management and

Consulting LLC’s motion to compel shall be filed under seal.




Date                                                        DABNEY L. FRIEDRICH
                                                            United States District Judge
